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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION


 SECURITIES AND EXCHANGE
 COMMISSION,
           Plaintiff,
                  -against-
 ROBERT J. MUELLER, DEEPROOT FUNDS
 LLC (a/k/a dprt Funds, LLC), AND POLICY
 SERVICES INC.,
                                                          Civil Action No.: 5:21-cv-785-XR
             Defendants,
                   -and-
 DEEPROOT TECH LLC, DEEPROOT
 PINBALL LLC, DEEPROOT STUDIOS LLC,
 DEEPROOT SPORTS & ENTERTAINMENT
 LLC, AND DEEPROOT RE 12621 SILICON DR
 LLC,
             Relief Defendants.


   [PROPOSED] FINAL JUDGMENT AS TO DEFENDANT ROBERT J. MUELLER

       Plaintiff Securities and Exchange Commission (“SEC”) having filed a Complaint and

Defendant Robert J. Mueller having entered a general appearance and consented to the Court’s

jurisdiction and the subject matter of this action without admitting or denying the allegations of

the Complaint (except as to jurisdiction and except as otherwise provided herein in paragraph

VI); and

       The Court having granted in part and denied in part the SEC’s Motion for Summary

Judgment, finding Defendant liable for violating Section 17(a)(3) of the Securities Act of 1933

(the “Securities Act”) [15 U.S.C. § 77q(a)(3)] and Sections 206(2) and (4) of the Investment

Advisers Act of 1940 (the “Advisers Act”) [15 U.S.C. § 80b-6(2), (4)]; and
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         The Court having entered a Judgment as to Defendant, ECF No. 162, ordering that

Defendant pay disgorgement and prejudgment interest thereon and a civil penalty to be

determined by the Court, and enjoining Defendant from violating Section 10(b) of the Securities

Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated

thereunder [17 C.F.R. § 240.10b-5], Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)],

Sections 206(1), (2) and (4) of the Advisers Act [15 U.S.C. § 80b-6(1), (2), and (4)], and Rule

206(4)-8 promulgated thereunder [17 C.F.R. § 275.206(4)-8], and other conduct as defined in the

Judgment; and

         The Court having entered a Judgment as to Defendants deeproot Funds LLC (a/k/a dprt

Funds, LLC) and Policy Services Inc. and Relief Defendants deeproot Tech, LLC, deeproot

Pinball LLC, and deeproot Studios LLC (collectively the “Debtor Defendants”), ECF No. 81;

and

         The Court having held a hearing that began on January 27, 2025, about the subject matter

of this Judgment and having heard argument and reviewed the SEC’s and Defendant’s briefs and

evidence on the matter:

                                                I.

         IT IS ORDERED, ADJUDGED, AND DECREED that Defendant Mueller is liable for

disgorgement, totaling $52,116,414, which represents net profits gained as a result of the conduct

alleged in the Complaint, together with prejudgment interest thereon in the amount of

$16,583,273. Defendant Mueller shall be jointly and severally liable with the Debtor Defendants,

consistent with the Court’s Judgment as to the Debtor Defendants, ECF No. 81, as set forth

below:




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       A. Defendant Mueller and Defendants deeproot Funds LLC and Policy Services Inc. are

           jointly and severally liable for disgorgement of $48,064,717 and prejudgment interest

           of $4,522,350 for a total of $52,587,067;

       B. Defendant Mueller and Relief Defendants deeproot Tech LLC and deeproot Pinball

           LLC are jointly and severally liable, with each other and with deeproot Funds LLC,

           and Policy Services Inc., for disgorgement of $14,162,565 and prejudgment interest

           of $1,332,538 for a total of $15,495,103; and

       C. Defendant Mueller and Relief Defendant deeproot Studios LLC are jointly and

           severally liable with deeproot Funds LLC and Policy Services Inc., for disgorgement

           of $3,745,925 and prejudgment interest of $352,449 for a total of $4,098,374.

                                                II.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant Mueller is

liable for a civil penalty in the amount of $2,264,959 pursuant to Section 20(d) of the Securities

Act [15 U.S.C. § 77t(d)], Section 21(d)(3) of the Exchange Act [15 U.S.C.§ 78u(d)(3)], and

Section 209(e) of the Investment Advisers Act [15 U.S.C. § 80b-9].

                                                III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant Mueller

shall satisfy these obligations by paying these amounts owed to the SEC within 30 days after

entry of this Final Judgment.

       Defendant Mueller may transmit payment electronically to the SEC, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank



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cashier’s check, or United States postal money order payable to the “Securities and Exchange

Commission,” which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; Robert Mueller’s name as a defendant in this action; and specifying that payment is

made pursuant to this Final Judgment.

       Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the SEC’s counsel in this action. By making this payment, Defendant

relinquishes all legal and equitable right, title, and interest in such funds and no part of the funds

shall be returned to Defendant.

         The SEC may enforce the Court’s judgment for disgorgement and prejudgment interest

by using all collection procedures authorized by law, including, but not limited to, moving for

civil contempt at any time after 30 days following entry of this Final Judgment.

       The SEC may enforce the Court’s judgment for penalties by the use of all collection

procedures authorized by law, including the Federal Debt Collection Procedures Act, 28 U.S.C.

§ 3001 et seq., and moving for civil contempt for the violation of any Court orders issued in this

action. Defendant shall pay post judgment interest on any amounts due after 30 days of the entry

of this Final Judgment pursuant to 28 U.S.C. § 1961. The SEC shall hold the funds, together

with any interest and income earned thereon (collectively, the “Fund”), pending further order of

the Court.

       The SEC may propose a plan to distribute the Fund subject to the Court’s approval. Such

a plan may provide that the Fund shall be distributed pursuant to the Fair Fund provisions of


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Section 308(a) of the Sarbanes-Oxley Act of 2002. The Court shall retain jurisdiction over the

administration of any distribution of the Fund and the Fund may only be disbursed pursuant to an

Order of the Court.

       Regardless of whether any such Fair Fund distribution is made, amounts ordered to be

paid as civil penalties pursuant to this Judgment shall be treated as penalties paid to the

government for all purposes, including all tax purposes. To preserve the deterrent effect of the

civil penalty, Defendant shall not, after offset or reduction of any award of compensatory

damages in any Related Investor Action based on Defendant’s payment of disgorgement in this

action, argue that he is entitled to, nor shall he further benefit by, offset or reduction of such

compensatory damages award by the amount of any part of Defendant’s payment of a civil

penalty in this action (“Penalty Offset”). If the court in any Related Investor Action grants such

a Penalty Offset, Defendant shall, within 30 days after entry of a final order granting the Penalty

Offset, notify the SEC’s counsel in this action and pay the amount of the Penalty Offset to the

United States Treasury or to a Fair Fund, as the SEC directs. Such a payment shall not be

deemed an additional civil penalty and shall not be deemed to change the amount of the civil

penalty imposed in this Judgment. For purposes of this paragraph, a “Related Investor Action”

means a private damages action brought against Defendant by or on behalf of one or more

investors based on substantially the same facts as alleged in the Complaint in this action.




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                                              IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that within 3 days after

being served with a copy of this Final Judgment, Wells Fargo Bank (“Wells Fargo”) shall

transfer the entire balance of the following bank accounts which were frozen pursuant to an

Order of this Court to the SEC:

            Account Owner                                         Acct. Ending in:
            Deeproot Pinball LLC                                            *5571
            Deeproot Growth Runs Deep Fund LLC                              *1354
            Deeproot 575 Fund LLC                                           *8673
            Deeproot 3 Year Bonus Reset Debenture Fund                      *1024
            LLC
            Wizard Mode Media LLC                                             *9298
            Deeproot Bonusgrowth 5 Year Debenture Fund                        *1016
            LLC
            Deeproot 3 Year Bonus Income Debenture Fund                       *1370
            LLC
            Deeproot Wealth Advisors LLC                                      *1255
            Dprt STFR Debenture Fund LLC                                      *2724
            Dprt Advisory Services LLC                                        *2526
            Dprt Advisory Services LLC                                        *6017
            Deeproot Continuation Holdings Inc.                               *9258
            Deeproot Queue Fund LLC                                           *6758
            National Wealth Solutions LLC                                     *6288

       Wells Fargo may transmit payment electronically to the SEC, which will provide detailed

ACH transfer/Fedwire instructions upon request. Payment may also be made directly from a

bank account via Pay.gov through the SEC website at http://www.sec.gov/about/offices/ofm.htm.

Wells Fargo also may transfer these funds by certified check, bank cashier’s check, or United

States postal money order payable to the Securities and Exchange Commission, which shall be

delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169


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and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; and specifying that payment is made pursuant to this Final Judgment.

                                                V.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that within 3

days after being served with a copy of this Final Judgment, United Services Automobile

Association (“USAA”) shall transfer the entire balance of the following bank account which was

frozen pursuant to an Order of this Court to the SEC:

            Account Owner                                           Acct. Ending in:
            Robert Mueller                                                    *4336

       USAA may transmit payment electronically to the SEC, which will provide detailed

ACH transfer/Fedwire instructions upon request. Payment may also be made directly from a

bank account via Pay.gov through the SEC website at http://www.sec.gov/about/offices/ofm.htm.

USAA also may transfer these funds by certified check, bank cashier’s check, or United States

postal money order payable to the Securities and Exchange Commission, which shall be

delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; and specifying that payment is made pursuant to this Final Judgment.




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                                                VI.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.

                                                VII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the

allegations in the Complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Judgment or any other judgment, order, consent order, decree or settlement agreement entered in

connection with this proceeding, is a debt for the violation by Defendant of the federal securities

laws or any regulation or order issued under such laws, as set forth in Section 523(a)(19) of the

Bankruptcy Code, 11 U.S.C. § 523(a)(19).

                                               VIII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall

retain jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.




Dated: ___________________

                                              ____________________________________
                                              XAVIER RODRIGUEZ
                                              UNITED STATES DISTRICT JUDGE




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